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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

 IN THE MATTER OF AMERICAN                               CIVIL ACTION NO.: 2:23-cv-01489
 RIVER TRANSPORTATION CO., LLC,
 AS OWNER AND OPERATOR OF THE                              SECTION: T          DIVISION: 1
 M/V CREW RUNNER, PRAYING FOR
 EXONERATION       FROM     OR                               JUDGE: GREG G. GUIDRY
 LIMITATION OF LIABILITY
                                                         MAGISTRATE JUDGE: JANIS VAN
                                                                 MEERVELD

      MEMORANDUM IN SUPPORT OF MOTION TO STRIKE JURY DEMAND
             OF ANDY LOVE AND NICHOLAS HARRINGTON

       Limitation Petitioner, American River Transportation Co., LLC (“ARTCO”), herein

respectfully move this Court to strike the jury demands of Claimants Andy Love (“Love”) and

Nicholas Harrington (“Harrington”), as the Claimants are not entitled to a jury in this Limitation

Action. ARTCO filed this Limitation Action within the meaning of Rule 9(h) of the Federal Rules

of Civil Procedure and Rule F of the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions, thereby invoking the Court’s admiralty jurisdiction of this matter under

which a right to jury is not recognized. Accordingly, ARTCO seeks an order from this Court

striking the jury demands of Claimants Love and Harrington, and acknowledging the trial of this

matter will be held before this Honorable bench.

                                      Factual Background

       On April 9, 2022, the CREW RUNNER was transporting ARTCO employees and

contractors on the Lower Mississippi River when it allided with a buoy (the “Incident”). Two

ARTCO employees, Larry Turner and Andy Love, and one contractor, Nicholas Harrington, were

on the CREW RUNNER at the time of the Incident and alleged they suffered injuries as a result

of same. Following the Incident, ARTCO filed a Petition for Exoneration From or Limitation of



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Liability (“Complaint in Limitation”) (Rec. Doc. 1) on May 3, 2023. ARTCO filed its Complaint

in Limitation within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure, thereby

invoking the Court’s admiralty jurisdiction of this matter.

        On June 21, 2023, Harrington filed his Answer and Claim in this matter for alleged injuries

he suffered as a result of the Incident. (R. Doc. 7). In his Answer and Claim, Harrington prayed

for a jury. (R. Doc. 7 at p. 6, paragraph 7).

        On June 30, 2023, Love filed his Answer and Claim in this matter for alleged injuries he

suffered as a result of the Incident. (R. Doc. 10). In his Answer and Claim, Love prayed for a jury

citing Luera v. M/V ALBERTA, 635 F.3d 181, 196 (5th Cir. 2011). (R. Doc. 10 at p. 21, paragraph

f).1

                                           Law and Argument

        “One of the historical procedures unique to admiralty is that a suit in admiralty does not

carry with it the right to a jury trial.” Luera v. M/V ALBERTA, 635 F.3d 181 (5th Cir. 2011) (citing

Waring v. Clarke, 46 U.S. 441 (1847). Thus, there is no right to a jury trial where the complaint

brings suit under the court’s admiralty jurisdiction. Id. (citing T.N.T. Marine Serv., Inc. V. Weaver

Shipyards & Dry Docks, Inc., 702 F.2d 585, 587 (5th Cir. 1983)). The procedure for a Limitation

Action as laid out in Rule F of the Supplemental Admiralty and Maritime Claims and as recognized

by the U.S. Supreme Court is as follows:

        The district court secures the value of the vessel or owner’s interests, marshals
        claims, and enjoins prosecution of other actions with respect to the claims. In these
        proceedings the court, sitting without a jury, adjudicates the claims. The court
        determines whether the vessel owner is liable and whether the owner may limit
        liability. The court then determines the validity of the claims, and if liability is
        limited, distributes the limited fund among the claimants.



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 Claimants Larry Turner and Labor Services, LLC’s Answer and Claims did not include jury demands. (R. Docs. 5
and 9).

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Lewis v. Lewis & Clark Marine, Inc., 531 U.S. 438, 448 (2001) (emphasis added). Courts

within this District routinely grant motions to strike jury demands by a claimants in

Limitation Actions. See, e.g., In re Am. River Transportation Co., No. 20-416, 2020 WL

6382660, at *1 (E.D. La. Oct. 30, 2020); Dufrene v. Cass Marine Grp., LLC, No. CV 18-

8186, 2019 WL 446589, at *1 (E.D. La. Feb. 5, 2019).

        In this case, ARTCO filed its Complaint in Limitation pursuant to Rule F of the

Supplemental Admiralty and Maritime Claims, specifically invoking the court’s admiralty

jurisdiction under Rule 9(h) of the Federal Rules of Civil Procedure. Thus, this Limitation

Action is solely within the Court’s admiralty jurisdiction, under which no right to trial by

jury exists.

        In his Answer and Claim, Love cites Luera in support for his alleged right to trial

by jury. However, this case, is distinguishable from Luera. In Luera, the plaintiff in her

complaint brought in rem admiralty claims against two vessels in the same complaint as in

personam claims premised on diversity jurisdiction. 635 F.3d at 187. The issue decided

by the court in that case was “whether the plaintiff automatically makes a Rule 9(h) election

to proceed under the admiralty rules when she specifically asserts only diversity

jurisdiction for one claim in the same complaint. Id. at 189. Luera is distinguishable from

this matter because that case was not a Limitation Action. In this case, ARTCO filed

Limitation Action pursuant to Rule F of the Supplemental Rules for Admiralty or Maritime

Claims and Asset Forfeiture Actions and specifically invoked the Court’s admiralty

jurisdiction under Rule 9(h). A Limitation Action is a matter where a vessel owner deposits

a fund to take the place of the vessel and the claimants litigate against the fund, in rem.

The issue presented before the court in Luera is not present in this matter. Thus, Love and



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Harrington have no right to trial by jury for his claims in federal court in this Limitation

Action.

          It should be noted that in his Claim, Love reserves his right to pursue his claim in

state court pursuant to the Savings to Suitors Clause. ARTCO does not deny that if this

Court has grounds to stay the Limitation Action and lift its injunction against proceedings

in state court, as is, then Love might have the right to file his claims in state court and to

request a trial by jury. However, Love and the other claimants had not made the requisite

showing or stipulations in order to allow the Court to stay the Limitation Action and lift its

injunctions against proceedings in state court. See, e.g., Lewis, 531 U.S. at 450-456. Thus,

while Love’s claims remain in federal court within the confines of this Limitation Action,

he does not have the right to have his case heard by a jury.

          The Claimants in the captioned action do not have a right to have their cases heard

by a jury. Therefore, the Court should grant ARTCO’s Motion to Strike Love and

Harrington’s jury demands.




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                                               Respectfully submitted,

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                                               ATTORNEYS FOR AMERICAN RIVER
                                               TRANSPORTATION CO., LLC



                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 8th of September , I electronically filed the foregoing pleading
with the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing
to all persons electronically noticed.

                                     /s/ Gillian M. McCarroll
                                   GILLIAN M. MCCARROLL




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